Gmail - Arbitration Case: # 01-23-0003-6758               https://mail.google.com/mail/u/2/?ik=fl4031782d&view=pt&search=...
              Case 4:22-cv-00559-ALM Document 30-8 Filed 11/06/23 Page 1 of 5 PageID #: 569
                                                EXHIBIT H
                   Gmail                              Jenna Ryan <jennaryanrealty@gmail.com>


         Arbitration Case: # 01-23-0003-6758
         AAAFiling <AAAFiling@adr.org> Wed, Sep 6, 2023 at 9:29 AM
         To: Jenna Ryan <jennaryanrealty@gmail.com>, AAAFiling <AAAFiling@adr.org>


          Hello,




          After reviewing the submission for a fee waiver on case #01-23-0003-6758, the AAA
          has determined to partially grant your request for a hardship waiver and will waive
          $10,500 of the $12,000 filing fee.

          Please keep in mind this only pertains to this filing fee that are your responsibility, and
          does not affect any obligation to pay arbitrator compensation or subsequent fees.



          At this time, the AAA requests payment of $1,500 for the filing fee by close of
          business Friday, September 15, 2023. If you wish to pay by credit card, please
          advise and a secure pay-link will be sent to your attention.



          Please note that all communication for this case will be done in writing, if you have
          any questions please feel free to e-mail us.



         Thank you,




         [Quoted text hidden]




1 of 1                                                                                                    11/4/23,12:43 PM
 Gmail - Arbitration Case: # 01-23-0003-6758 https://mail.google.com/mail/u/2/?ik=f14031782d&view=pt&search=...
                    Case 4:22-cv-00559-ALM Document 30-8 Filed 11/06/23 Page 2 of 5 PageID #: 570
                                                                                          EXHIBIT H
         M Gmail ue oa Ryan <jennaryanrealty@gmail.com>


         Arbitration Case: # 01-23-0003-6758
         AAAFiling <AAAFiling@adr.org> Fri, Sep 22, 2023 at 6:10 AM
         To: Jenna Ryan <jennaryanrealty@gmail.com>, AAAFiling <AAAFiling@adr.org>


          Hello,




          The AAA acknowledges receipt of your correspondence. Should you wish to ithdraw this matter, with the option to potentially re-file at a later date,
          you may provide that confirmation to the attention of this address. Further, please see the attached Commercial Fee Schedule which provides more
          information regarding the AAA s initial filing fee and administrative fees under these rules. Please note the AAA will abide by any court order should
          one be provided.




          Thank you,




                          AAAFiling
                          Administrative Assistant
                          America Arbitration Association
                                                                                                                      NPT s BEST
                          E: AAAFiling@adr.org                                                                        NONPROFITS
                          1101 Laurel Oak Road, Suite 100, Voorhees, NJ 08043
                                                                                                                      TO WORK FOR
                                                                                                                          2023
                          adr.org | icdr.org | aaamediation.org


         The information in this transmittal (including attachments, if any) is privile ed and/or confidential and is intended only for the recipient(s) listed above. Any review, use, disclosure, distribution or copyin of this transmittal is prohibited
         except y or on ehalf of the intended recipient If you have received this transmittal in error, please notify me immediately by reply email and destroy all copies of the transmittal. Thank you.




         Fro : Jenna Ryan <jennaryanrealty@gmail.com>
         Sent: Thursday, September 7, 2023 12:18 AM
         To: AAAFiling <AAAFiling@adr,org>
         Subject: Re: Arbitration Case: # 01-23-0003-6758




                    External E-Mail - Use Caution




         It is upsetting to me that the amount you want to charge me is the amount in my bank account. Do you not think that a
         person needs to eat, drive, pay electric bills, insurance? Why did you say you would charge me the exact amount that
         was in my bank account? Who decided this? I would like to know the fee waiver process.



         Also, what other fees would I be required to pay?




         On Wed, Sep 6, 2023 at 8:26 PM Jenna Ryan <jennaryanrealty@gmail.com> wrote:

            I am going to file a Motion with the Court to have my case returned to court since I am unable to afford the filing fees.



1 of 8                                                                                                                                                                                                                                        11/4/23, 12:44 PM
Gmail - Arbitration Case: # 01-23-0003-6758              https://mail.google.com/mail/u/2/?ik=fl4031782d&view=pt&search=...
              Case 4:22-cv-00559-ALM Document 30-8 Filed 11/06/23 Page 3 of 5 PageID #: 571
                                              EXHIBIT H
                Gmail                                  Jenna Ryan <jennaryanrealty@gmail.com>


         Arbitration Case: # 01-23-0003-6758
                                                                               Mon, Aug 28, 2023 at 1:53
         Jenna Ryan <jennaryanrealty@gmail.com>
                                                                                                              P
         To: AAAFiling <AAAFiling@adr.org>

          Here is the signed waiver of fees.

          I want to add that I am a real estate agent and the market has taken a severe turn for
          the worse. The damages that PayPal caused me and my business is especially
          damaging during a real estate downturn like now. I am working 70 hours per week
          now, and barely able to survive. My clients refuse to return my calls after all of the
          publicity I received about being a fraud and a con from the PayPal disclosure of my
          private financial information. PayPal smeared me to the media when I was raising
          funds for legal fees, and this caused my fundraising efforts to be destroyed. I have
          had to close my business and start a new business from scratch and this has been
          extremely debilitating to my business.

          I do all my banking in my business account. I have $1383 in that account with several
          bills due, and it is uncertain if I have any money coming in for next month. I am
          working 7 days a week, 70 hours per week and barely surviving. I do not have any
          investments, or other income. Before PayPal did this to me, I had a second business,
          SelfLoveU, butthat business is dissolved now. Also, I can no longer hire agents due to
          my reputational damage. Trying to recover damages has also taken up enormous
          time, and trying to find representation has taken more hours than I can count. I need
          immediate relief from the damages PayPal caused me.
          [Quoted text hidden]

          > Support_of_Hardship_Waiver_of_Fees-2.pdf
           J 300K




1 of 1                                                                                                   11/4/23, 12:40 PM
DocuSign Envelope ID: 6D82B631-BDCC-4F17-BFFB-2O694416E6C2
            Case 4:22-cv-00559-ALM Document 30-8 Filed 11/06/23 Page 4 of 5 PageID #: 572
                  American
                                                                       AMERICAN ARBITRATIO ASSOCIATION AFFIDAVIT
                                   INTERNATIONAL CENTRE
                  Arbitration      FOR DISPUTE RESOLUTION"                      IN SUPPORT OF ADMINISTRATIVE FEES
                  Association
                                                                                      HARDSHIP WAIVER BUSINESS


     AAA Case No:

      ame of business: Jenna Ryan Realty / First Place Real Estate

     Describe business:
     Real Estate brokerage




   I Business

    Address: 6160 Warren Pkwy., Ste: 100

    City: Frisco State: Texas Zip Code: 75034

     Number of employees: 0

    Organization/business type: Sole Proprietorship, LLC

    (General/Limited Partnership/Sole Proprietorship/Corporation/Limited Liability/Company)

    Date business established: 2013

    Gross annual business revenue: 80,000

    Net annual business revenue: 65,000

    Operating expenses: 25,000

    For profit:    Yes No

    How many years in operation? 10 years

    Affiliated or related organizations/businesses:

    Prior                 Applications                                   for          Fee              Waivers      g

    Within the last two years, have you requested the AAA or a court waive your fees and costs? Yes • No

    AAA? Yes. • No What court(s)?

    What was the outcome?




    GUARANTOR INFORMATION:
    Additional Income

    Bonuses (including frequency): None

    Amount and types of government assistance: None

    Business, profession or other self-employment income: None other than from real est te brokera e stated above

    Rent payments received, interest, or dividends: None

    Pension, annuity or life insurance payments received: None
DocuSign Envelope ID: 6D82B631-BDCC-4F17-BFFB-2D694416E6C2
              Case 4:22-cv-00559-ALM Document 30-8 Filed 11/06/23 Page 5 of 5 PageID #: 573
                  American                                             AMERICAN ARBITRATION ASSOCIATION AFFIDAVIT
                                  INTERNATIONAL CENTRE
                   rbitration     FOR DISPUTE RESOLUTION                        IN SUPPORT OF ADMINISTRATIVE FEES
                  Association
                                                                                      HARDSHIP WAIVER BUSINESS
     Disability, or workers compensation payments: None

     Other financial support or income, (state source and amount you receive, and frequency):
     None




    Assets

     Total cash and/or checking accounts: $ 1363.00

    Total in CDs and savings accounts: $ None

    Value of liquid investments (mutual funds, ETFs, etc.): None

    Value of other investments (stocks, bonds, trusts): None


    Attorney s fees: $ No Attorney                                        My representative is working on a contingency basis or pro bono
                                                                           .Yes No



    Gross pay or wages for household: $ See above per week/ month./, .year (select one)
    Gross pay is the amount of money you earn before taxes are taken out. The amount entered should represent the pay/wages for
    each adult in household, listed in the section below.

    Take-home pay or wages for household: $ See above per week/ month / O year (select one)

    Take-home pay is the amount of money you receive after taxes are taken out. The amount entered should represent the pay/wages
    for each adult in household, listed in the section belo .

    Number of people in. your household: 1

    Number of adults (o er 18 years old) in your household: Just me

    Number of. children (18 years older under) in your, household: Just me
    Household means the number of people you can claim as a dependent on your income tax returns, including you and your spouse
    or partn r (if you are married).



   I am a party to this case and declare that I do not have the financial means sufficient to pay the AAA s administrative fees. I understand
   that any hardship waiver, if granted, does not affect my separate obligation to pay arbitrator compensation. I hereby s ear and affirm
   that the foregoing is a true and correct statement of my financial condition and my ability to pay.
        DocuSigncd by:




   Stgn6t0 B34F194DA..



    Please email completed for to AAAfeewaivers@adr.org.

   Or mail to:
   American Arbitration Association
   Attn: Fee Waivers
   1301 Atwood Avenue
   Johnston Rl, 02919
